             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CIVIL NO. 1:05CV220-T-02
                              (1:03CR27-04-T)


PATRICIA L. ELLIOTT,                           )
                                               )
                   Petitioner,                 )
                                               )
            vs.                                )    JUDGMENT
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )
______________________________                 )


      For the reasons set forth in the Memorandum and Order filed

herewith,

      IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

Petitioner’s motion to vacate, set aside or correct judgment pursuant to §

2255 is GRANTED IN PART as to the claim of ineffective assistance of

counsel for failure to file a direct appeal.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Petitioner’s conviction is AFFIRMED, her sentence is hereby VACATED,

but she shall remain in the custody of the Attorney General of the United




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States. The Clerk of Court shall prepare an amended judgment which

contains the same terms and provisions as that of the original judgment.

     IT IS FURTHER ORDERED that, with entry of such amended

judgment, notice of appeal is deemed to be filed on behalf of Petitioner and

the appointment of appellate counsel is respectfully referred to the Fourth

Circuit Court of Appeals.

     IT IS FURTHER ORDERED that Petitioner’s remaining claims

contained in her § 2255 motion are hereby DISMISSED WITHOUT

PREJUDICE.

                                     Signed: February 26, 2008




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